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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
             Plaintiff,
                  v.
                                          CRIM. NO. 24-124-4 (RAM)
 [4]   ELI   YANIEL     COUVERTIER-
 POLLOCK,

             Defendant.


                             OPINION AND ORDER

RAÚL M. ARIAS-MARXUACH, United States District Judge

     Pending before the Court is the United States of America’s

(the “Government”) Motion for Stay of Bail Order and Request for

a De Novo Bail Hearing. (Docket No. 32). The Court granted the

motion for a de novo bail hearing on April 9, 2024. (Docket No.

37). The motion for a stay is DENIED as moot, as Defendant Eli

Yaniel    Couvertier-Pollock         (“Couvertier”)      was     released     on

conditions on April 8, 2024. (Docket No. 44). Accordingly, the

sole remaining issue is the Government’s motion for revocation of

the bail order (“Motion”). For the reasons set forth below, the

Court DENIES the Government’s Motion. The Defendant is to remain

on bail subject to the conditions specified in the order of release

at Docket No. 51.

                                I.    BACKGROUND

     On   March   29,   2024,    a   Complaint     was   filed   against      Mr.

Couvertier and his three co-defendants, Luis Nomar Isaac-Sanchez
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(“Isaac”),      Joshua    Enrique    Bula-Cartagena       (“Bula”),      and    Kevin

Manuel Bonilla-Ramirez (“Bonilla”), for aiding and abetting the

possession of a machine gun on October 31, 2023. (Docket Nos. 1

and 1-1). The four co-defendants were originally charged in the

Court    of    First    Instance,    San   Juan    San    Juan     Superior     Court

(“Commonwealth Court”). (Docket No. 16 at 2). The Commonwealth

Court dismissed the case against Mr. Bonilla on November 7, 2023,

and against Messrs. Isaac, Bula, and Couvertier on March 25, 2024.

Id.

      The     federal    Complaint   was   filed     shortly       after,   and     Mr.

Couvertier was arrested on April 1, 2024. (Docket Nos. 1 and 6).

The Government moved for detention without bail on April 3, 2024.

(Docket No. 16). The next day, a Grand Jury returned an one-count

indictment charging the four co-defendants with illegal possession

of a machine gun, aiding and abetting, in violation of 18 U.S.C.

§§ 922(o) and 2. (Docket No. 19 at 1).

      On April 8, 2024, Magistrate Judge Marcos E. López held a

detention hearing and found there were conditions of release that

would reasonably assure the Defendant’s future appearance and the

safety   of    the     community,    including     an    unsecured      bond,      home

detention, and the installment of an electronic monitoring device.

(Docket No. 44). That same day, the Government filed the present

Motion seeking de novo review of the Magistrate Judge’s detention
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order.     (Docket     No.   32).    Mr.   Couvertier      opposed     the   motion,

contending that the Government had not met its burden to establish

he was either a flight risk or danger to the community. (Docket

No. 46 at 4). The Court held a de novo hearing, which took place

on April 11 and 15, 2024. (Docket Nos. 55 and 66).

      At   the   hearing,     the     Government    called     Homeland      Security

Investigations (“HSI”) Special Agents Fabiola Colón (“SA Colón”)

and Michael Villanueva-Acevedo (“SA Villanueva”), as well as HSI

Task Force Officer Jesus Maysonet-García (“TFO Maysonet”). Id.

Further, the Government presented a bevy of exhibits. Id. The

Defendant called Nilsa Rivera-Monge (“Rivera”). (Docket No. 66).

                              II.     FINDINGS OF FACT

      The Bail Reform Act directs the judicial officer to include

written findings of fact in a detention order. See 18 U.S.C.

§ 3142(i)(1). The below findings of fact are drawn only from the

information      and    testimony      presented    at   the    de    novo   hearing

conducted on April 11 and 15, 2024. 1 Furthermore, these findings

of fact have been made solely for the purpose of deciding the

pending Motion. See 18 U.S.C. § 3142(j) (“Nothing in this section




1 Exhibits relevant to the de novo hearing were filed at Docket Nos. 45, 73,
and 74. Later references to these exhibits shall be cited as follows:
(Exhibit __). English translations of some of the exhibits were filed at Docket
No. 82.
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shall be construed as modifying or limiting the presumption of

innocence.”).

  A. Testimony of SA Colón

     SA Colón testified that on October 31, 2023, at approximately

6:00 AM, agents from the Puerto Rico Police Bureau (“PRPB”) were

conducting surveillance on a red Jeep because a paid confidential

informant had told the PRPB that the occupants of the vehicle were

armed. During   the   surveillance,   Mr.    Isaac    and    his   three    co-

defendants approached the red Jeep. A pistol with an extended

magazine was protruding from Mr. Isaac’s waistband. Once the four

men entered the car, PRPB agents boxed it in using their vehicles,

and Mr. Isaac fled the scene. Messrs. Bonilla, Bula, and Couvertier

attempted to flee but were apprehended quickly near the vehicle.

The criminal Complaint does not mention that Mr. Couvertier ran,

but it does discuss Mr. Isaac’s flight.

     Later, PRPB officers found a Glock 19 pistol that had been

modified with a chip to enable it to fire automatically in the

center console of the red Jeep. They also discovered a second Glock

19 pistol beneath the front passenger seat. Mr. Couvertier had

been sitting in the rear seat behind the driver.

     Following his arrest, Mr. Couvertier consented to a search of

his cell phone. Law enforcement authorities extracted several

photographs and videos from Defendant’s phone that depict him
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handling firearms. For example, a photo dated January 8, 2023,

shows Mr. Couvertier with a firearm with a loaded extended magazine

tucked under his arm and magazines clutched in his hand. (Exhibit

25). A video dated January 1, 2023, shows the Defendant shooting

an automatic pistol with several other persons. (Exhibits 34-2,

35, and 36). Mr. Couvertier’s phone also contained a video of a

person with several handguns on his lap, including one with a

protruding red chip that can be used to enable a firearm to fire

automatically. (Exhibit No. 28). The phone also had a video of a

tan tactical bag—which Defendant is seen wearing in another photo—

containing a pistol and several magazines. (Exhibit Nos. 28 and

37). Finally, there is a video of a person wearing the shoes,

watch, and bracelet worn by Mr. Couvertier in other photos who is

holding a firearm with a red chip and an extended magazine.

(Exhibits 34-3 and 38-41).

     Agents also extracted a photograph, dated February 20, 2023,

and a video of Defendant in which he has two firearms tucked in

his waistband and a rifle in his hand with a drum-style magazine,

light brown grip, brown hand guard, and Picatinny rail. (Exhibits

16 and 34-1). On March 29, 2024, following the shooting of a PRPB

officer    in   the   Sabana   Abajo    Public    Housing     Project     (“PHP”),

officers    discovered    a    duffle    bag     containing       three   weapons.

(Exhibits 3 and 4). One of the weapons found in the duffle bag has
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the same distinctive characteristics as the rifle from Exhibits 16

and 34-1.

     SA Colón also testified that Mr. Couvertier participated in

various    chats,    sometimes      using     the   account     name    “Tata.”     The

relevant    messages,       which   were      obtained     from      extractions    of

Defendant’s    and    Mr.     Isaac’s      phones,     are    attributed      to    Mr.

Couvertier because they were sent from a phone number associated

with him (the “Account”). The following messages are purportedly

from the Defendant’s Account:

  1. In    response    to    a   query   of    whether       there    were   firearms

     available for sale on about May 11, 2023, the Account replied

     that he had a Glock 17C for sale. (Exhibits 28 and 31).

  2. On May 11, 2023, the Account and another person discussed

     looking for a steel, removable chip used to enable firearms

     to fire automatically. The Account said that he had the chip.

     (Exhibits 28 and 31).

  3. On July 23, 2023, in response to a picture of a firearm and

     its price, the Account inquired if the firearm was fully

     automatic, to which his correspondent said it was semi-

     automatic. (Exhibits 29 and 30).

  4. On June 1, 2023, the Account sent a screenshot of an Instagram

     account posting about the murder of an urban recording artist,

     Pacho. The Account sent a subsequent audio message urging
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     being armed at all times and visibly carrying large-capacity

     magazines and rifles. (Exhibits 43, 44, and 34-6)

  5. On May 7, 2022, the Account received a photo of a firearm,

     the number 2,200, and a message referring to two magazines

     with a forty-round capacity. The Account replied, indicating

     he would let others know that the firearm is available for

     sale. (Exhibits 45 and 46).

  6. On September 20, 2023, a contact sent photos of multiple

     firearms and magazines to the Account. The Account responded,

     asking first about the price of two of the firearms, and later

     if the two weapons could be purchased together. (Exhibits 47,

     48, 34-7, and 34-8).

  7. Two   days   later,    the   Account    asked   the     contact   for    the

     availability    and    price   of   a   Glock   19,     noting    that   the

     prospective buyer for the previous two firearms was now

     ignoring him. (Exhibits 34-9 and 34-10).

  8. Finally, on September 25, 2023, the Account received a photo

     of a long firearm and magazine, to which the Account replied

     asking for its price. (Exhibits 47, 49, and 34-11).

     In addition to testifying about these messages, SA Colón

stated that approximately five months had elapsed between October

31, 2023, the date of the charged offense, and the filing of the

Complaint.   While    Mr.    Couvertier      was     being     prosecuted     in
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Commonwealth Court, he was released on conditions of bail. SA Colón

was not aware of any violations of these conditions.

  B. Testimony of SA Villanueva

     SA Villanueva twice attempted to interview Mr. Couvertier. On

the first occasion, October 31, 2023, Defendant invoked his Miranda

rights and an interview was not conducted. On April 1, 2024, Mr.

Couvertier waived his Miranda rights and stated that he had run

away from the scene of the red Jeep on October 31, 2023, because

everybody else had run as well. He also said that he was in a

hookah lounge at the time of the murder of the PRPB officer in the

Sabana   Abajo    PHP.   On    this    occasion,     Defendant       spoke    for

approximately twenty to twenty-five minutes. The interview was not

recorded.

     SA Villanueva reviewed Mr. Couvertier’s cell phone extraction

and testified about attribution of the phone and its contents to

Defendant. In one chat, Defendant provided his full name and date

of birth. In other messages, he was also referred to by and

responded   to   nicknames    such    as   “Tata”   and   “Maike.”    Maike    is

Defendant’s Instagram handle, and another co-defendant referred to

Mr. Couvertier as Maike during an interview. SA Villanueva also

watched a selfie-style video in which Defendant records himself

and speaks. Finally, SA Villanueva testified that he had listened

to the audio messages presented in the initial detention hearing
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and the de novo hearing, and that the voice on the messages sounded

like Mr. Couvertier’s voice.

     Lastly, SA Villanueva also conceded that there was no mention

of Defendant’s flight on the night of October 31, 2023, in the

affidavit that SA Villanueva submitted to support the Complaint.

  C. Testimony of TFO Maysonet

     TFO   Maysonet   is    a    forensic   analyst   assigned     to   the    HIS

forensic laboratory. He reviewed a Cellebrite report documenting

the extraction from Mr. Couvertier’s phone for the first time on

April   11,   2024.   The       report   provides   additional     attribution

evidence that the phone belongs to Defendant, such as the fact

that it is linked to social media, Gmail, and Apple ID accounts

bearing Mr. Couvertier’s name or usernames. (Exhibits 51 and 52).

Additionally, the phone was linked to four different SIM cards.

(Exhibit 52). Finally, TFO Maysonet testified that he had reviewed

three videos and their file paths, and that the file paths indicate

the videos were taken using Mr. Couvertier’s phone.

  D. Testimony of Ms. Rivera

     Ms. Rivera is a former resident of the Sabana Abajo PHP. She

first met Mr. Couvertier five or six years ago when he helped her

move into the PHP. Later, Defendant assisted Ms. Rivera with other

errands. She often saw him around the Sabana Abajo PHP, where his
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mother resides, and believes that he neither travels very much nor

is a danger to the community.

                                III. LEGAL STANDARD

  A. Standard of review for a detention or release order

        A   district   court    reviews    a   magistrate     judge's     order    of

detention or release under a de novo standard and “need not defer

to the magistrate judge’s findings or give specific reasons for

rejecting them.” United States v. Cidraz-Santiago, 18 F. Supp. 3d

124, 126 (D.P.R. 2014) (citations omitted). A district court may

also    “take   additional      evidence    or   conduct    a     new   evidentiary

hearing” when “the defendant has placed relevant facts at issue.”

Id.

  B. The Bail Reform Act

        Pursuant to the Bail Reform Act of 1984, a judicial officer

must determine whether a person charged with an offense shall be

detained or released pending trial. See 18 U.S.C. § 3142(a).

Section 3142(e) of the Bail Reform Act provides that if, after

conducting a hearing, “the judicial officer finds that no condition

or combination of conditions will reasonably assure the appearance

of the person as required and the safety of any other person and

the community, such judicial officer shall order the detention of

the person before trial.” Id. § 3142(e).
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      A statutory presumption in favor of detention does not apply

to   this   case.    See    United       States    v.        Berríos-Aquino,         2022   WL

17075919,    at     *2   (D.P.R.        2022)    (noting       that     the   offense       of

possession of a machine gun is not listed in sections 3142(e)(2)

or (3) of the Bail Reform Act). However, the Bail Reform Act

authorizes pretrial detention in cases that involve a felony that

involves the possession or use of a firearm or any other dangerous

weapon. See id.; 18 U.S.C. § 3142(f)(1)(E). Detention is also

authorized    in    cases       where    there    is     a    serious    risk    that       the

defendant may flee. See id.; 18 U.S.C. § 3142(f)(2)(A).

            i.      Standard of proof

      The   standard       of    proof    for     detention       on    the   grounds       of

dangerousness       is   clear      and     convincing          evidence.       18    U.S.C.

§ 3142(f).       Clear     and     convincing          evidence         is    “more      than

preponderance of the evidence but less than beyond a reasonable

doubt.” United States v. Acevedo-Ramos, 600 F. Supp. 501, 509

(D.P.R. 1984) (citations omitted), aff’d, 744 F.2d 203 (1st Cir.

1985) (Breyer, J.). This standard requires “a high degree of

certainty that the information presented supports the conclusion

of dangerousness or risk to the obstruction of justice.” Id. On

the other hand, the standard of proof for detention on the grounds

of risk of flight is preponderance of the evidence. United States

v. Patriarca, 948 F.2d 789, 793 (1st Cir. 1991).
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             ii.   Factors the Court must consider

     To determine whether there are conditions of release that

assure a defendant’s appearance and the safety of the community,

judicial officers must consider the following factors: (1) the

nature and circumstances of the offense charged; (2) the weight of

the evidence against the defendant; (3) the defendant’s personal

history and characteristics; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by

the defendant’s release. 18 U.S.C. § 3142(g).

                              IV.    DISCUSSION

     After    considering    the   proffers    of   counsel,     the   evidence

presented, the arguments of the parties, the Pretrial Services

Report, and the recording of the initial detention hearing, the

Court finds that the Government has not proven by the relevant

standards that no conditions of release could reasonably assure

the safety of the community and Defendant’s appearance as required.

  A. The nature and circumstances of the offense charged

     As discussed above, Mr. Couvertier was charged with illegal

possession of a machine gun, aiding and abetting. (Docket No. 19).

This is a serious offense. See Berríos-Aquino, 2022 WL 17075919,

at *2; United States v. Diaz-Collazo, 2018 WL 377277, at *2 (D.P.R.

2018). If convicted, Defendant faces up to ten years’ imprisonment.

See 18 U.S.C. § 924(a)(2). Moreover, the Government notes that the
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machine gun at issue was found in the center console of a vehicle

that would have presumably been driven on a public street. This

circumstance of the offense also favors detention. See Diaz-

Collazo, 2018 WL 377277, at *2 (noting that the defendant possessed

a machine gun in a public area); United States v. Mieses-Casiano,

161 F. Supp. 3d 166, 169 (D.P.R. 2016) (ordering detention of

defendant who carried machine gun on public sidewalk, ran from the

police, and tossed firearm while fleeing).

     There is some dispute as to whether the Defendant fled from

PRPB officers just prior to his October 31, 2023 arrest. The

Government presented evidence that at least one PRPB officer

conveyed to SA Colón that Mr. Couvertier ran, and that he told SA

Villanueva in an interview that he fled as well. However, Mr.

Couvertier’s attorney cross-examined both witnesses as to why the

Complaint had not included any reference to said flight, even

though it had detailed how Mr. Isaac led a PRPB officer on a foot

chase. It is beyond cavil that judges may consider sufficiently

reliable hearsay evidence in making detention determinations. See

Acevedo-Ramos, 755 F.2d at 208. In this case, the two witnesses

corroborated   each   other’s   testimony    at   the    de   novo    hearing.

Additionally, the standard to establish a risk of flight is low:

a preponderance of the evidence. Thus, the evidence presented as
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to whether Mr. Couvertier ran from authorities at the time of his

arrest weighs in favor of detention based on his risk of flight.

  B. The weight of the evidence against Defendant

        The Government presented a bevy of evidence throughout the de

novo hearing, including photos and videos of the Defendant holding

various firearms and group chat messages discussing gun sales. As

the Government noted in its argument, however, the bulk of their

presentation      constituted     evidence     that,   pursuant      to    Fed.   R.

Evid. 404(b), related to other crimes, wrongs, or acts separate

from the offense charged in the indictment. But see Berríos-Aquino,

2022    WL   17075919,   at     *2-*3   (considering     videos     of    defendant

shooting a machine gun on other occasions in evaluating the weight

of the evidence).

        As related to the events of October 31, 2023, the weight of

evidence for bail purposes derives from the testimony of SAs Colón

and Villanueva, who spoke to PRPB officers present before and

during Mr. Couvertier’s arrest but who were not present at the

scene themselves. The Court also notes that the federal Grand Jury

has found probable cause by returning a true bill against the four

co-defendants. Thus far, there is no evidence presented before the

Court that is “inconsistent with a finding of guilt.” Diaz-Collazo,

2018 WL 377277, at *2 (citing United States v. Gray, 529 F. Supp.
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2d 177, 181 (D. Mass. 2007)). This factor then, tilts the needle

slightly in favor of detention.

       Regardless of the import or weight of the evidence proffered

by     the     Government,     the     Court     is     not       concerned        with

Mr. Couvertier’s guilt or innocence at this stage. See 18 U.S.C.

§ 3142(j) (“Nothing in this section shall be construed as modifying

or limiting the presumption of innocence.”). The Court’s task is

to    assess   whether   there    is   a   set    of   conditions      that   “will

reasonably assure the appearance of the person as required and the

safety of any other person and the community.” 18 U.S.C. § 3142(c).

The Court agrees with the Magistrate Judge that such conditions

exist.

     C. Defendant’s personal history and characteristics

       Per the Pretrial Services Report, Mr. Couvertier considers

himself a lifelong resident of the Sabana Abajo PHP. He does not

have a passport, has never traveled outside of the United States,

and only speaks Spanish. He has been in a ten-year relationship

with another resident of the PHP, with whom he has two young

children. During the first hearing date, Mr. Couvertier’s partner

came to support him, and other members of his family and community

joined her on the second hearing date. Although Defendant has no

record of steady employment, he also has no verified criminal

history outside of the instant case. Furthermore, his attorney
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presented a letter at the de novo hearing indicating that Mr.

Couvertier has secured a job since his most recent federal arrest.

Together,   these   factors        strongly     indicate        that     Defendant       is

unlikely to be a risk of flight, and they favor release. See

Mieses-Casiano,     161      F.     Supp.       3d      at    169      (finding        that

characteristics such as lifelong residency in Puerto Rico, lack of

passport, fluency only in Spanish, and dearth of travel outside of

United States favored release).

  D. The nature and seriousness of the danger to any person or the
     community that would be posed by Defendant’s release

     Mr. Couvertier lacks a firearms license, although there are

plenty of photos and videos showing him carrying and discharging

firearms—including what appear to be automatic weapons—without

authorization in public places. He has also smoked marijuana

occasionally, including just a few days prior to his federal

arrest. These factors suggest that Defendant poses a danger to the

community. See Diaz-Collazo, 2018 WL 377277, at *2 (regarding

defendant’s possession of marijuana at the same time he was in

possession of a loaded firearm).

     Even   more    troubling       is   the     evidence        presented      by      the

Government that an account associated with the Defendant’s phone

number has engaged in numerous discussions regarding the sale of

firearms, including automatic ones. These conversations support
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the notion that “defendant’s conduct may be very well encouraging

unlawful possession of” firearms, including machine guns. Berríos-

Aquino, 2022 WL 17075919, at *4 (nonetheless granting release under

conditions). Defendant was not merely illegally carrying firearms.

He also brokered sales of these dangerous weapons to unknown

persons with unknown motives. See id. Such actions can pose serious

danger to the community.

     However, there is no evidence that Mr. Couvertier violated

any conditions of release during the approximately five months

that his Commonwealth Court charges were pending. He appeared

before this Court twice for the de novo hearing. The Government

presents no evidence that he handled or sold firearms since his

first arrest on October 31, 2023, and the vast majority of the

Government’s evidence predates that event. Although the Court is

concerned by the evidence submitted at the de novo hearing, “the

safety of the community can be reasonably assured without being

absolutely guaranteed.” United States v. Tortora, 922 F.2d 880,

884 (1st Cir. 1990). The Court has considered the conditions

imposed by Magistrate Judge López’ order of release at Docket No.

51 and notes that, among other requirements, the Defendant must

reside outside the Sabana Abajo PHP, remain under home detention,

and wear an electronic monitoring device. Together, these and the

other conditions of release can reasonably assure public safety.
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                             V.    CONCLUSION

     For the foregoing reasons, the Government’s Motion for Stay

of Bail Order and Request for a De Novo Bail Hearing at Docket No.

32 is DENIED. The Defendant Eli Yaniel Couvertier-Pollock is to

remain on bail subject to the conditions specified in the order of

release at Docket No. 51.

     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 24th day of April 2024.


                                  s/Raúl M. Arias-Marxuach_________
                                  UNITED STATES DISTRICT JUDGE
